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5    Attorney for Defendant
     Le John Windom, Jr.
6
                         UNITED STATES DISTRICT COURT
7                       EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA,         )
9                                      )         No. CR.S-15-0029 TLN
                     Plaintiff,        )
10                                     )
               vs.                     )         STIPULATION AND ORDER TO
11
                                       )         CONTINUE STATUS CONFERENCE
12
     LeJOHN WINDOM, JR.,               )
                                       )         Date: January 12, 2017
13                                     )         Time: 9:30 AM
                     Defendant.        )         Court: TLN
14                                     )

15        IT IS HEREBY STIPULATED by and between the parties hereto

16   through their respective counsel, Matthew Morris, Assistant
17   United States Attorney, attorney for plaintiff and Michael
18
     Bigelow, attorney for defendant LeJohn Windom, Jr., that the
19
     previously-scheduled status conference date of December 15,
20
     2016, be vacated and the matter set for status conference on
21
     January 12, 2017, at 9:30 a.m.
22
          This continuance is requested to allow counsel additional
23
     time to review discovery with the defendants, to examine
24
     possible defenses and to continue investigating the facts of the
25
     case. The Government does not oppose this request.


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1    Further, the parties agree and stipulate the ends of justice
2    will be served by the granting of such a continuance outweigh
3
     the best interests of the public and the defendants in a speedy
4
     trial and that time within which the trial of this case must be
5
     commenced under the Speedy Trial Act should therefore be
6
     excluded under 18 U.S.C. section 3161(h)(7)(B)(iv),
7
     corresponding to Local Code T4 (to allow defense counsel time to
8
     prepare), from the date of the parties’ stipulation, December
9
     15, 2016, to and including January 12, 2017.
10

11        Accordingly, the parties respectfully request this Court to

12   grant this stipulation.

13
          IT IS SO STIPULATED
14

15
     /S/ MATTHEW MORRIS
16   Mathew G. Morris, Esq.,                  Dated: December 13, 2016,
     Assistant United States Attorney
17   Attorney for Plaintiff

18   /S/MICHAEL B. BIGELOW                    Dated: December 13, 2016
     Michael B. Bigelow
19   Attorney for Defendant
     LeJohn Windom
20

21
                                       ORDER
22
     IT IS SO ORDERED.
23
     DATED: December 13, 2016
24

25
                                               Troy L. Nunley
                                               United States District Judge


                                        -2-
